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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION
                                        *

UNITED STATES OF AMERICA                          *

       v.                                         *          Criminal No. SAG-21-202

DONALD HILDEBRANDT                                *

                   *     *     *     *     *      *    *     *     *     *       *

                 MOTION FOR LEAVE TO FILE PHYSICAL EXHIBIT

       Donald Hildebrandt, by counsel, hereby moves for leave to file a physical exhibit as Exhibit

5 to his Motion to Suppress Tangible and Derivative Evidence and for a Franks Hearing, ECF No.

39. A physical exhibit is necessary because the exhibit contains audio recordings that cannot be

filed electronically on CM/ECF.

       WHEREFORE, Mr. Hildebrandt requests that he be permitted to file a physical exhibit.

                                               Respectfully submitted,

                                               JAMES WYDA
                                               Federal Public Defender for the
                                               District of Maryland

                                                      /s/
                                               ________________________________
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